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                        UNITED STATES DISTRICT COURT
                                                                                  MAR
                         WESTERN DISTRICT OF TEXAS                                        22202!
                              DEL RIO DIVISION

UNITED STATES OF AMERICA                      §
                                              §
    vs.                                       §           DR-20-CR-0 1699(01)
                                              §
KEVIN EDUARDO CAVAZOS                         §
                                              §


           ORDER GRANTING REQUEST FOR JUVENILE RECORDS

           Before the Court is the request of the United States Probation Officer for
    the juvenile records of the defendant Kevin Eduardo Cavazos. After reviewing the
    request, the Court finds that same should be granted. It is, therefore,


            ORDERED that the County and District Clerk's Office, County Juvenile
    Probation Department, County Sheriff's Department and the Police Department
    release to the United States Probation Office for the Western District of Texas,
    any and all records pertaining to the above-named defendant for use by the United
    States Probation Office and the United States District Court in all matters related
    to the above-named defendant.




            SO ORDERED this        2yc1day of        1J&CL}('ZP-              ,   2021.




                                                           United State           ttJudge
